Y£*§[g)' Case 2:02-cr-20058-BBD Document 604 Filed 08/24/05 Page 1 of 5 EP§Q€|D §4
UNITED STATES DISTRICT COURT

M:`l OB'II=I

for
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

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U.S.A. vs. Hen[! Perdue Docket No. 2:02CR20058-09

Petition on Probation and Supervised Release

COMES NOW MARNIE KLYMAN PROBATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Hen_ry Perdue who was placed on supervision by the Honorable
Bemice B. Donald sitting in the Court at Memghis, TN on the l_8t_h day of November 2002 who fixed the period

of supervision at three (3 1 years*, and imposed the general terms and conditions theretofore adopted by the Court
and also imposed Special Conditions and terms as follows:

 

l. The defendant shall submit to drug testing and treatment as directed by the Probation Oftice.
2. The defendant shall make restitution in the amount of $8,500.00 (Balance: $8,500.00)
* Term of Supervised Release begin Decernber 24, 2003.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(PLEASE SEE A'I`TACHED)

PRAYING TI~IAT THE COURT WILL ORDER a that a WARRANT be issued for Henry Perdue to appear
before the United States District Court to answer to charges of violation of Supervised Release.

BOND:

 

ORDER OF COURT I declare under penalty of perjury that the foregoing
is true and correct
Considered and ordered this ¢?~szcday

of @£&L, 2(£)_'/ and ordered filed and Executed onAjJ$QA/' ? ap 00 ~S_
made art of the reco ds int above case. _ '
-/)70(/1/)`_1 /O‘f?)-, Q`

Mamie Kl
United States Probation Oilicer

     
 
   
  

Be `ce B. Donald
U ted States District' Judge

Place: Memphis. Tennessee

This document entered on the docket sheet In.onmpllance

with Ru|e 551 ami/or 32(b) FFlCrP on 3 '£f£"fz § 004

Case 2:02-cr-20058-BBD Document 604 Filed 08/24/05 Page 2 of 5 Page|D 685

PROB 12

PERDUE, Henry

Docket No. 2:02CR20058-09
Page 2

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS F()LLOWS:
THE DEFENDANT HAS VIOLATED TI-IE FOLLOWING CONDITIONS OF SUPERVISED RELEASE:

The defendant shall refrain from any unlawful use of a controlled substance
Henry Perdue tested positive for Marijuana on January 16, 2004 and June 25, 2005.
The defendant shall participate in drug testing and treatment as directed by the Probation Officer.

Mr. Perdue failed to participate in random drug testing at ACAR on fourteen (14) occasions between October 14,
2004 to August l, 2005, as directed by the Probation Ot`licer.

The defendant shall follow the instructions of the Probation Officer.

The defendant was instructed to report to the Probation Oilice on April 6, April 8 and April ll, 2005. The
defendant failed to report to the Probation OHice as directed by the Probation Offlcer.

The defendant shall submit a truthful and complete written report within the first five days of each month.

The defendant failed to submit monthly report forms for October thru December 2004; January and February 2005;
and April thru July 2005, within the first five days of each month.

The defendant shall pay $8,500.€|0 restitution; payments shall be set at ten percent (10%) of defendant’s gross
income.

The defendant failed to submit restitution payments despite the fact he reports he has been self empioyed.

VlOLAT|ON WORKSHEET
Case 2:02-cr-20058-BBD Document 604 Filed 08/24/05 Page 3 of 5 Page|D 686

 

 

 

1. Defendant Henry Perdue (Address: 1338 Walnut l-la|l Court, No. 12, Memphis, TN 38119)
2. Docket Number (Year-Sequence-Defendant No.) 2:020R20058-09
3. DistrictIOftice Western District of Tennessee (Memphis)
4. Origina| Sentence Date ___11_ 1_1__8_ l _M
month day year
(lf different than sbove}:

5. Original Districthf|ioe

 

6. Ori|inal Docket Number (Year-Sequence-Defendant No.}

 

 

 

 

 

 

 

 

?. List each violation and determine the applicable grade w §751.1}:
Vioiatio@s} Grade
0 PossessionlUse of Marijuana C
e Faiiure to participate in drug screening C
e Failure to follow the instmctions of the Probation Ofticer C
e Failure to submit Month|y Supervision Report Forms C
* Failure to submit restitution payments C
. _-
8. Most Serious Grade of Violation (M §7B1.1[b)) C
9. Criminal History Category (M §7B‘l.4(a))74 |V
10. Range of imprisonment ig §'IB1.4(e)) 6 - 12 months

 

 

 

Maximum term of imprisonment is 24 months
18 USC §3583(e)(3)

11. Sentencing Options for Grade B and C \nolations Only (Check the appropriate hox):

{X}

il

{}

(a)lf the minimum term of imprisonment determined under §751.4 (Term of Imprisonment) is at least one month but not more
than six months, §7B‘1 .3(c)(1) provides sentenan options to imprisonment

(b)|f the minimum term of imprisonment determined under §781.4 (Term of lmprisonment) is more than six months but not
more than ten months. §781 .3(c)(2) provides semenan options to imprisonment

(c)|f the minimum term of imprisonment determined under §751.4 (Term of |mprisonment) is more than ten months, no
sentencing options to imprisonment are available

Mali documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monltoring Unit

12.

13.

14.

15.

Case 2:02-cr-20058-BBD Document 604 Filed 08/24/05 Page 4 of 5 Page|D 687

Defendant Henry Perdue

 

Unsatielied Conditions of Original Sentence

List any restitution, iine, community confinementl home detention, or intermittent confinement previously imposed in connection with
the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation g §7B‘i.3(d)}:

 

 

 

 

 

 

Restitution ($) 8.500.00 Ccmrnunity Coniinement NiA
Fine ($) NIA Horne Detention NIA
Other NiA intermittent Coniinement NIA
Supervised Release

if probation is to be revoked. determine the |ength, if any. of the term of supervised release according to the provisions of§§5D1.1-

1.3{see §§751.3(9)(1)}.
Term: NIA to NIA years

lf supervised release is revoked and the term oi imprisonment imposed is less than the maximum term of imprisonment impossible upon
revocation the defendant may, to the extent permitted by lawl be ordered to recommence supervised release upon release from
imprisonment § 18 U.S.C. §3583(e) and §7Bi.3(g)(2)}.

Period of supervised release to be served following release from imprisonment

Departure

List aggravating and mitigating factors that may warrants sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

thcial Detention Adjusiment {s_eg_ §181.3(e)}: months days

Mail documents to: United States Sentencing Commission, 1331 Penneylvania Avenue. ll.W.
Suil:e 1400, Washington, D.C., 200|)4, Attention: Monitoring unit

sTRlCT COURT - WEsTERN DIsRTCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 604 in
case 2:02-CR-20058 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

